             Case 8-19-73704-ast              Doc 13-1        Filed 06/28/19          Entered 06/28/19 07:05:03


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